         Case 1-24-41125-ess     Doc 16    Filed 04/15/24    Entered 04/15/24 12:49:30




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11

FRALEG JEFFERSON CORP                                    Case No.: 24-41125-ess

                               Debtor.


              NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

                PLEASE TAKE NOTICE that Francis E. Hemmings, Esq., files this Notice

of Appearance and Request for Notices on behalf of Fraleg Jefferson Corp., (the “Debtor”)

and respectfully requests that all notices given or required to be given to the Debtor, and all

papers served or required to be served upon the debtor in the above-captioned case, and in

all proceedings arising under or related thereto, including, but not limited to notices,

applications, motions, petitions, orders, pleadings, complaints or demands, be given to and

served upon the following:

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Dated: Laurelton, New York
       April 15, 2024

                                  LAW OFFICES OF FRANCIS E. HEMMINGS PLLC


                             By      /s/ Francis E. Hemmings
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